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   12
                            UNITED STATES DISTRICT COURT
   13
                          CENTRAL DISTRICT OF CALIFORNIA
   14

   15

   16    CLIFTON W. MARSHALL, et al.,                   Case No. 16-CV-6794 AB (JCx)
   17                   Plaintiffs,                     MEMORANDUM OF LAW IN
   18                                                   SUPPORT OF DEFENDANTS’
               v.                                       MOTION FOR PARTIAL
   19                                                   SUMMARY JUDGMENT
         NORTHROP GRUMMAN
   20    CORPORATION, et al.                            Date: June 7, 2019
   21                                                   Time: 10 a.m.
                        Defendants.
                                                        Judge: Hon. André Birotte Jr.
   22

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    1
                                           INTRODUCTION
    2
              In this ERISA action, Plaintiffs challenge a variety of decisions made and
    3
        actions taken by alleged fiduciaries to the 401(k) retirement plan (“the NGSP” or
    4
        “the Plan”) sponsored by Northrop Grumman Corporation (“Northrop”). Through
    5
        this motion, Defendants seek partial summary judgment on Counts II, III, VI, and
    6
        VII of Plaintiffs’ Second Amended Complaint (“SAC”). Through those claims,
    7
        Plaintiffs asserted that Northrop failed to consider whether to convert the Emerging
    8
        Markets Fund to passive management and failed to renegotiate the recordkeeping
    9
        contract when the plan’s circumstances changed. But discovery has shown that the
   10
        factual premises underlying these claims are not true, such that Plaintiffs cannot
   11
        identify evidence to support a sustainable legal theory.1
   12
                                   FACTUAL BACKGROUND2
   13         A.     The Plan
   14         Northrop maintains one of the largest defined contribution retirement plans in
   15   the country: the NGSP. SUF ¶¶ 1-2. By the end of 2016, the NGSP had
   16   approximately 110,000 participants and more than $19 billion in assets. SUF ¶ 2.
   17   Northrop employees may choose to contribute to their individual accounts in the
   18   NGSP through payroll withholding, and Northrop matches a percentage of those
   19   individual contributions. SUF ¶ 3. All of the NGSP’s investments are participant-
   20   directed, meaning that the participants choose how to invest their account balances
   21   among the options made available by the Plan. SUF ¶ 4.
   22         The NGSP is governed by a plan document, which allocates responsibility for
   23   the governance of the Plan between an Administrative Committee and an Investment
   24
        1
   25     This motion does not address Plaintiffs’ remaining claims, which concern
        reimbursements that Northrop received from its 401(k) plan for work that Northrop
   26   benefits employees provided to the plan. Although those claims also fail, this motion
        focuses on the claims for which Plaintiffs’ factual deficiencies are most glaring.
        2
   27     This section provides contextual background information for the convenience of
        the Court. A full recitation of the facts relevant to this motion is set out in
   28   Defendants’ Local Rule 56-1 Statement of Uncontroverted Facts and Conclusions
        of Law (“SUF”).
                                                     -1-
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    1
        Committee. SUF ¶¶ 8, 65. Northrop’s Board of Directors appointed the Committee
    2
        members until December 2011, at which time that responsibility was delegated to
    3
        Northrop’s Chief Executive Officer. SUF ¶ 68. The Plan document provides that the
    4
        Investment Committee is the named fiduciary for investment matters and is
    5
        responsible for approving investment options and objectives. SUF ¶ 8. The
    6
        Investment Committee is authorized to delegate certain responsibilities, including
    7
        day-to-day responsibility for selecting investment managers and investment options,
    8
        which it has delegated to Northrop’s Investments and Trust Administration
    9
        Department (“ITA”). SUF ¶ 8. The Administrative Committee and its delegates are
   10
        responsible for management of the Plan “for all purposes other than investment
   11
        matters,” SUF ¶ 65, including retention and management of third-party service
   12
        providers. SUF ¶¶ 67, 72-74.
   13
              B.     The Emerging Markets Fund
   14
              Throughout the relevant time period, the NGSP offered an Emerging Markets
   15
        Fund (“the EM Fund”) as an investment option. In addition to target-date funds and
   16
        a brokerage window through which participants could invest in over 4,700 mutual
   17
        funds and individual securities, the NGSP offered eight core investment fund
   18
        options, representing a range of investment strategies with correspondingly different
   19
        risks and returns. SUF ¶¶ 5, 16. The EM Fund was one of these eight options; it
   20
        focuses on securities issued by companies based in emerging markets such as China,
   21
        Brazil, Russia, and India. SUF ¶ 16. The unique characteristics of emerging
   22
        markets—including illiquidity and institutional and political risks—have historically
   23
        created market inefficiencies that have presented opportunities for active
   24
        management to outperform passive indexing strategies. Id.
   25
              The Investment Committee decided to divide the EM Fund’s assets among
   26
        multiple emerging markets asset managers. By combining the strategies of multiple
   27
        managers, the resulting fund was more diversified, and participants had access to a
   28
        broader mix of investment strategies. SUF ¶¶ 6-7. The Investment Committee and
                                                     -2-
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    1
        ITA conducted a series of analyses to refine the array of managers. Through that
    2
        continuous review process, the Investment Committee and ITA had repeated, robust
    3
        discussions about the merits and risks of active and passive management for the EM
    4
        Fund, including at least ten presentations specifically analyzing the issue. SUF ¶¶
    5
        21-52. As circumstances dictated, the allocation of the EM Fund was changed: In
    6
        2005, the fund was actively managed in full; in 2009, 25% was transitioned to
    7
        passive management; in early 2011, a 50%-50% split was instituted; and by
    8
        November 2014 the passive component was increased to 100%. SUF ¶¶ 27, 42, 52.
    9
              C.     Hewitt’s Recordkeeping Services
   10
              All 401(k) plans require “recordkeeping” services: maintaining participant
   11
        accounts, processing contributions, withdrawals, and distributions, enrolling and
   12
        terminating participants, and preparing required disclosures, among other tasks. SUF
   13
        ¶ 64. As of 2006, after a competitive bidding process involving a Request for
   14
        Proposals (“RFP”), the Administrative Committee retained Hewitt Associates
   15
        (“Hewitt”) as the NGSP’s recordkeeper. SUF ¶¶ 76-80. The 2006 agreement entitled
   16
        Hewitt to a flat monthly fee for the Plan’s first 152,000 participants, plus an early-
   17
        termination payment should the NGSP retain a different recordkeeper prior to 2014.
   18
        SUF ¶ 81. In late 2010, Northrop contemplated a corporate spinoff that would reduce
   19
        the number of NGSP participants by potentially 40,000. SUF ¶ 85. Northrop engaged
   20
        a consultant to benchmark how Hewitt should be compensated after part of the Plan
   21
        was divested. SUF ¶¶ 86-89. The spinoff closed on March 30, 2011; as of April 1,
   22
        2011, Northrop and Hewitt agreed to amend their agreement to replace the flat
   23
        monthly fee with a per-participant fee of $45 per year—an amount within the
   24
        benchmark range for comparable plans. SUF ¶ 90. In 2014, Northrop put the contract
   25
        out to bid. SUF ¶¶ 91-93. As a result of that process, in 2015, Northrop awarded the
   26
        recordkeeping contract to Fidelity, which completed the transition in April 2016.
   27
        SUF ¶ 94.
   28
              Northrop also used a competitive bidding process in 2011 to choose a firm to
                                                     -3-
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 1
     offer optional individualized investment advice to Plan participants, ultimately
 2
     selecting Financial Engines for that advisory service starting in 2012. SUF ¶¶ 96-
 3
     107. Just three years later, Northrop benchmarked the fees and determined that there
 4
     was a window for a new round of negotiations. SUF ¶¶ 108-110. The ensuing
 5
     negotiations reduced fees for individualized investment advice in 2015. SUF ¶ 111.
 6
           In order to do its advisory work, Financial Engines requires information about
 7
     its clients’ accounts and the ability to transact on their behalf. SUF ¶ 112-113. In
 8
     2009, Financial Engines entered into a “data connectivity agreement” with Hewitt,
 9
     thereby allowing Financial Engines to offer its services to Hewitt’s recordkeeping
10
     clients. Id. Under that bilateral agreement, Hewitt provides Financial Engines with
11
     up-to-date participant data and a portal to make investment changes on participants’
12
     behalf; Financial Engines provides Hewitt a specified portion of the fees it receives.
13
     Id. The arrangement between Hewitt and Financial Engines, to which the NGSP was
14
     not a party, had no effect on the amount of fees the NGSP paid to either Hewitt or
15
     Financial Engines. SUF ¶¶ 116, 120.
16
                                           ARGUMENT
17
           Rule 56 requires summary judgment when the evidence, viewed in the light
18
     most favorable to the nonmoving party, shows that there is no genuine issue as to
19
     any material fact, and the movant is entitled to judgment as a matter of law. Fed. R.
20
     Civ. P. 56(a); see Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986). A party
21
     seeking summary judgment bears the initial burden of informing the court of the
22
     basis for the motion and the absence of a genuine issue of material fact. Celotex, 477
23
     U.S. at 323. On an issue as to which the nonmoving party will have the burden of
24
     proof at trial, the movant can prevail merely by pointing out that there is an absence
25
     of evidence to support the nonmoving party’s case. Id. Evidence that is “merely
26
     colorable” is insufficient to create a genuine dispute of material fact; instead, the
27
     proffered evidence must be “significantly probative.” Anderson v. Liberty Lobby,
28
     Inc., 477 U.S. 242, 249 (1986) Harper v. Wallingford, 877 F.2d 728, 731 (9th Cir.
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 1
     1989) (“[M]ere disagreement or the bald assertion that a genuine issue of material
 2
     fact exists” does not preclude summary judgment.”).
 3
     I.    DEFENDANTS ARE ENTITLED TO SUMMARY JUDGMENT ON
 4         THE EMERGING MARKETS CLAIM.
 5         Plaintiffs’ emerging markets claim is premised on their allegation that
 6   Northrop decided to transition certain NGSP investment options to passive
 7   management in December 2010, but “continued to mandate an active investment
 8   strategy” for the EM Fund without evaluating whether such a strategy was “prudent
 9   and in the best interests of participants.” SAC ¶¶ 84, 88, 118. But the undisputed
10   evidence shows (a) that Defendants followed a detailed analytical process to
11   evaluate the merits of active management; and (b) that employing active
12   management was objectively prudent in the emerging markets context. Each of these
13   revelations is an independent basis for summary judgment.
14         ERISA requires a fiduciary to act “with the care, skill, prudence, and diligence
15   under the circumstances then prevailing that a prudent man acting in a like capacity
16   and familiar with such matters would use in the conduct of an enterprise of a like
17   character and with like aims.” 29 U.S.C. § 1104(a)(1)(B). The requirements of this
18   section will be met where the fiduciary “[h]as given appropriate consideration to
19   those facts and circumstances that . . . are relevant to the particular investment or
20   investment course of action involved, including the role the investment . . . in that
21   portion of the plan’s investment portfolio” and the fiduciary has acted accordingly.
22   29 C.F.R. § 2550.404a–1(b). “Appropriate consideration” includes a determination
23   that the investment “is reasonably designed, as part of the portfolio . . . to further the
24   purposes of the plan, taking into consideration the risk of loss and the opportunity
25   for gain (or other return) associated with the investment,” along with various other
26   factors related to that specific portion of the portfolio. Id.
27         To determine whether an ERISA fiduciary has breached the duty of prudence,
28   courts consider both the substantive reasonableness of the fiduciary’s actions and
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 1
     the procedures by which the fiduciary made its decision. In re Computer Scis. Corp.
 2
     ERISA Litig., 635 F. Supp. 2d 1128, 1139 (C.D. Cal. 2009) (requiring plaintiffs to
 3
     establish that defendants’ process was imprudent and that the imprudent process
 4
     resulted in losses to the plan).
 5
           Procedural prudence examines “whether the individual trustees, at the time
 6
     they engaged in the challenged transactions, employed the appropriate methods to
 7
     investigate the merits of the investment and to structure the investment.” Donovan
 8
     v. Mazzola, 716 F.2d 1226, 1232 (9th Cir. 1983). “[C]ourts have readily determined
 9
     that fiduciaries who act reasonably—i.e., who appropriately investigate the merits
10
     of an investment decision prior to acting—easily clear this bar.” Pfeil v. State St.
11
     Bank & Tr. Co., 806 F.3d 377, 384–85 (6th Cir. 2015) (quoting Tatum v. RJR
12
     Pension Inv. Comm., 761 F.3d 346, 356 (4th Cir. 2014)). Prudence is not to be judged
13
     in hindsight; the analysis “focus[es] on a fiduciary’s conduct in arriving at an
14
     investment decision, not on its results.” Terraza v. Safeway Inc., 241 F. Supp. 3d
15
     1057, 1069 (N.D. Cal. 2017) (quoting In re Unisys Sav. Plan Litig., 74 F.3d 420,
16
     434 (3d Cir. 1996)).
17
           By contrast, substantive or objective prudence asks whether, regardless of any
18
     flaws in the defendant’s decision-making process, “a hypothetical prudent fiduciary
19
     would have made the same decision anyway.” Tussey v. ABB, Inc., 746 F.3d 327,
20
     335 (8th Cir. 2014). Accord, e.g., Tibble v. Edison Int’l, 2010 WL 2757153, at *21
21
     (C.D. Cal. July 8, 2010) (“In sum, if the investment decision is one that a prudent
22
     person would make at the time it was made, there is no liability for loss to the Plan
23
     participants.”), vacated on other grounds, 843 F.3d 1187. And because ERISA’s
24
     duty of prudence is a relative standard—incorporating the conduct of a fiduciary’s
25
     peers as the duty of care—industry practice is key to objective prudence. See, e.g.,
26
     Cal. Ironworkers Field Pension Tr. v. Loomis Sayles & Co., 259 F.3d 1036, 1044
27
     (9th Cir. 2001) (rejecting claim that “the Bloomberg system” was an imprudent
28
     method of investigating investments because “the Bloomberg system was the tool
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 1
     prevalently used in the industry”).
 2         A.     Plaintiffs’ claim is premised on allegations that discovery has
 3
                  shown to be false.

 4         At its core, the central premise of Plaintiffs’ emerging markets claim is that
 5   Defendants imprudently maintained an “active management” strategy for the EM
 6   Fund until November 2014 despite having decided to transition certain other funds
 7   to passive management four years earlier. Plaintiffs further allege that over the
 8   course of this four year period, Defendants maintained an active management
 9   approach, “took no action” with respect to evaluating passive management, and “at
10   no point” determined which approach (active or passive) was in the best interest of
11   participants. SAC ¶ 84, 87-88. Now that discovery has closed, Plaintiffs can no
12   longer stand on these allegations, each of which has proved to be false.
13         The most fundamental problem with Plaintiffs’ emerging markets claim
14   relates to its central premise—i.e., that the EM Fund was actively managed from its
15   inception until November 2014, at which point Defendants finally decided to
16   transition the fund to passive management. But Defendants actually began the
17   process of transitioning the EM Fund to passive management in 2009 when they
18   decided to allocate 25% of the fund’s assets to passive management. SUF ¶ 27. Soon
19   thereafter, Defendants transitioned another 25% from active to passive management,
20   thereby making the EM Fund as much of a “passively managed” investment as it
21   was an actively managed fund. Then, in 2014, Defendants completed the transition
22   to passive management by reallocating the remaining actively managed assets. The
23   decision to transition the EM Fund from active to passive management over time
24   and in phases was based on an analysis of the relative strengths and weaknesses of
25   passive and active management for this particular asset class. SUF ¶ 21.
26         As the above facts suggest, Plaintiffs’ allegations that Defendants “took no
27   action” to transition the EM Fund to passive management and did not even evaluate
28   passive management as an alternative until implementing such an approach in 2014

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 1
     are also false. In fact, Defendants began evaluating the strengths and weaknesses of
 2
     both active and passive management for all of the NGSP’s investment options,
 3
     including the EM Fund, as early as 2007. SUF ¶¶ 21-23. This process included the
 4
     preparation of at least ten presentations between 2007 and 2014. In nine of these
 5
     presentations, Defendants analyzed the relative performance of the two approaches,
 6
     identified strengths, and highlighted the unique problems associated with the passive
 7
     management of emerging markets assets. SUF ¶ 21. The 2007 strategic review of
 8
     the EM Fund noted, for example, that the median active manager had consistently
 9
     outperformed emerging market benchmarks by as much as 283 basis points (bps),3
10
     while passive management had simply “not been effective in replicating index
11
     performance” due to the particular characteristics of emerging markets. SUF ¶22.
12
             Thus, where Plaintiffs allege that Defendants “failed to make a reasoned
13
     decision” about the management of the EM Fund (SAC ¶ 87), the undisputed
14
     evidence shows that Defendants were constantly assessing the relative performance
15
     of active and passive managers in emerging markets, and making their decisions
16
     based on that analysis. And where they allege that Defendants “took no action”
17
     regarding the management of the EM Fund (SAC ¶ 84), the undisputed evidence
18
     shows that Defendants did increase the fund’s passively managed component based
19
     on improvements in the performance of passive managers over time. The theory of
20
     Plaintiffs’ complaint—that Defendants stood by and did nothing—does not reflect
21
     the reality uncovered through discovery.
22
             That alone is enough for summary judgment. Having pleaded a claim based
23
     on allegations that Defendants had no process and took no action, Plaintiffs may not
24
     switch their theory of the case now that discovery has proven that idea baseless. “As
25
     the Ninth Circuit has repeatedly held, ‘summary judgment is not a procedural second
26
     chance to flesh out inadequate pleadings.’” Newton v. Am. Debt Servs., Inc., 75 F.
27

28   3
         A basis point is one one-hundredth of one percent (0.01%).
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 1
     Supp. 3d 1048, 1063 (N.D. Cal. 2014) (quoting Wasco Prods., Inc. v. Southwall
 2
     Techs., Inc., 435 F.3d 989, 992 (9th Cir. 2006)); see also id. (“[Plaintiff] may not
 3
     ‘effectively amend her complaint by raising a new theory in response to a motion
 4
     for summary judgment.’”) (alterations incorporated) (quoting La Asociacion de
 5
     Trabajadores de Lake Forest v. City of Lake Forest, 624 F.3d 1083, 1089 (9th Cir.
 6
     2010)).
 7
           In any event, the decision-making process uncovered in discovery is prudent
 8
     as a matter of law. See Pfeil, 806 F.3d at 388 (holding—at summary judgment—that
 9
     fiduciary’s “actual processes demonstrated prudence” where fiduciary “repeatedly
10
     discussed at length whether to continue the [challenged] investments;” fiduciary
11
     “discussed the performance of” those investments “and factors that may have
12
     affected that performance;” and the process “culminated in decisive votes, ultimately
13
     to divest the funds” of the challenged investments); Ellis v. Fid. Mgmt. Tr. Co., 257
14
     F. Supp. 3d 117, 129 (D. Mass. 2017) (granting summary judgment for fiduciary
15
     whose “process appears procedurally prudent” because it “periodically explored
16
     changing” the challenged benchmark by “regularly conducting quantitative analyses
17
     of potential alternative[s]”), aff’d, 883 F.3d 1, 11 (1st Cir. 2018) (affirming because
18
     “a wealth of undisputed evidence support[ed] the conclusion that [the fiduciary]
19
     engaged in an evaluative process prior to making investment decisions”).4
20
           After discovery, it cannot genuinely be disputed that Defendants “employed
21
     the appropriate methods to investigate the merits of” active and passive management
22
     for the EM Fund. Donovan, 716 F.2d at 1232; see also Pfeil, 806 F.3d at 385
23
     (“[F]iduciaries who . . . appropriately investigate the merits of an investment
24
     decision prior to acting . . . easily clear this bar.”) (quoting Tatum, 761 F.3d at 358).
25
     Summary judgment is therefore warranted.
26

27   4
           Notably, the district court in Ellis granted summary judgment for the
28   defendants despite the contrary opinion of the very expert Plaintiffs proffer here:
     Steve Pomerantz. 257 F. Supp. at 124–25; see generally Daubert Motion, ECF 167.
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 1         B.     Actively managed emerging markets funds were substantively
                  prudent.
 2
           Summary judgment on this claim is also appropriate for a second, independent
 3
     reason: Active management was objectively, substantively prudent for emerging
 4
     markets funds during the relevant period. It is undisputed that the use of active
 5
     management in emerging markets investments was prevalent in the 2010–2014
 6
     timeframe among retirement plans and institutional investors, and remains so today.
 7
     SUF ¶ 17. Indeed, active management was overwhelmingly the strategy employed
 8
     in emerging markets funds overall—because, as Defendants recognized, unique
 9
     features of emerging markets made passive strategies less effective. Of all emerging
10
     markets funds, 90% were actively managed in 2006, and 77.2% remained actively
11
     managed in 2017. SUF ¶ 17. There is thus no genuine dispute that the idiosyncrasies
12
     of emerging markets rendered active management a prudent strategy for emerging
13
     markets funds, no matter the purported advantages of passive management in other
14
     contexts. See 29 C.F.R. § 2550.404a–1(b) (“Appropriate consideration” requires
15
     specific consideration of the particular portion of the portfolio); Pfeil, 806 F.3d at
16
     388 (holding that fiduciary decision was substantively prudent based on “the
17
     decision of other expert professionals” making the same decision at the same time).
18
     II.   PLAINTIFFS’ CHALLENGE TO HEWITT’S RECORDKEEPING
19         FEES IS LEGALLY AND FACTUALLY BASELESS.
20         Plaintiffs next claim that Defendants breached their fiduciary duty of
21   prudence by causing the NGSP to pay excessive fees to its recordkeeper, Hewitt,
22   from 2010 until the NGSP switched recordkeepers in April 2016. But even a simple
23   look at total administrative costs belies Plaintiffs’ assertion: The NGSP’s total
24   administrative costs dropped from 4 bps in 2010 to 3 bps in 2015, well below levels
25   recognized by courts as reasonable. See SUF ¶ 124; Divane v. Northwestern Univ.,
26   2018 WL 2388118, at *10 (N.D. Ill. May 25, 2018) (holding that administrative fees
27   between 12.5 and 20 bps are “reasonable as a matter of law”).
28         Plaintiffs therefore attempt to manufacture an excessive recordkeeping claim
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 1
     by challenging Hewitt’s fixed rate fee structure (SAC ¶¶ 69, 73) fabricating a non-
 2
     existent requirement to put recordkeeping services out to bid every three years (SAC
 3
     ¶ 78), and attacking separate payments Financial Engines made to Hewitt for access
 4
     to participant data that Financial Engines needed to do its job (SAC ¶¶ 70-72)—all
 5
     theories that have failed repeatedly. See infra at 17. None of Plaintiffs’ challenges
 6
     have any grounding in ERISA; moreover, Plaintiffs’ claim turns on several factual
 7
     inaccuracies about which the record is now clear and undisputed. With the correction
 8
     of the record and the uncontroverted evidence of the fiduciaries’ prudent RFP and
 9
     benchmarking processes, Plaintiffs can only speculate that the NGSP may have been
10
     able to pay less. Such speculation, however, does not create a genuine issue of
11
     material fact. As one court held in dismissing a nearly identical claim, “[t]he mere
12
     allegation that [the plan sponsor] could continue to offer the same Plans and the same
13
     associated services for $35/year has no factual support, is entirely speculative,
14
     contrary to caselaw and common sense, and does not warrant discovery.” Wilcox v.
15
     Georgetown Univ., 2019 WL 132281, at *13 (D.D.C. Jan. 8, 2019).
16
           Indeed, the Ninth Circuit recently affirmed the dismissal of a similarly
17
     unsupported recordkeeping-fee claim, holding that allegations “show[ing] only that
18
     Chevron could have . . . sought lower fees for the administration of the fund” did not
19
     “ma[ke] it more plausible than not that any breach of a fiduciary duty had occurred.”
20
     White v. Chevron Corp., 2018 WL 5919670, at *1 (9th Cir. Nov. 13, 2018).5 Just so
21
     here. Plaintiffs’ recordkeeping claim is legally and factually baseless.
22          A.     Plaintiffs’ excessive recordkeeping fee claim relies on legally
23
                   deficient and factually inaccurate allegations about Hewitt’s fee
                   structure and the Defendants’ monitoring of that structure.
24         Plaintiffs do not claim that Defendants breached their fiduciary duties in 2006
25   by agreeing to pay Hewitt $500,000 per month to provide recordkeeping services to
26   the 115,127 participants in the NGSP at the time (a rate of approximately $52 per
27   5
      “Although [] not binding precedent, unpublished decisions have persuasive value
28   and indicate how the Ninth Circuit applies binding authority.” Nuh Nhuoc Loi v.
     Scribner, 671 F. Supp. 2d 1189, 1201 n.10 (S.D. Cal. 2009); see Ninth Cir. R. 36-3.
                                                  -11-
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 1
     participant per year).6 Instead, Plaintiffs claim that Defendants breached their duty
 2
     of prudence by failing to reduce Hewitt’s fees as the number of NGSP participants
 3
     decreased between 2009 and 2015 and the compensation Hewitt received from
 4
     Financial Engines increased. (SAC ¶¶ 69, 73). Although Plaintiffs make an
 5
     unsupported assertion that annual recordkeeping fees should have been no more than
 6
     $25 per participant, the only breach Plaintiffs allege relates to the fixed-fee amount
 7
     paid to Hewitt and the failure to re-negotiate that structure and amount. (SAC ¶ 73,
 8
     75).
 9
            As an initial matter, Plaintiffs’ argument that per-participant fees are the only
10
     prudent structure for recordkeeping contracts is legally groundless, as proven by
11
     cases brought by the same plaintiffs’ counsel here. As has been recognized by
12
     numerous courts, ERISA does not mandate a particular fee structure for service
13
     providers, as there are advantages and disadvantages to different structures
14
     depending on the plan’s circumstances. See Loomis v. Exelon Corp., 658 F.3d 667,
15
     672-73 (7th Cir. 2011) (noting that, with regard to recordkeeping fees, “flat
16
     payments per participant may help some participants but hurt others, depending on
17
     the size of each participant’s account”); Renfro v. Unisys Corp., 671 F.3d 314, 327-
18
     28 (3d Cir. 2011) (rejecting plaintiffs’ allegation that an asset-based fee structure
19
     was per se unreasonable); White v. Chevron Corp., 2016 WL 4502808, at *12-14
20
     (N.D. Cal. Aug. 29, 2016) (same), aff’d, 2018 WL 5919670. As observed by these
21
     and other courts, it is the fiduciary process used to arrive at the fee structure and
22
     amount that drives whether the arrangement is appropriate, and unsupported,
23
     speculative assertions that the fees might have been lower had the defendants
24
     engaged in some other process with the benefit of hindsight are insufficient to state
25
     a claim at the pleading stage, much less create a genuine factual issue justifying a
26
     6
27    Nor could they have brought a claim related to this agreement given ERISA’s six-
     year statute of repose. 29 U.S.C. § 1113(1)(A). Moreover, if Plaintiffs objected to
28   any aspect of the 2006 Hewitt agreement they could have raised those objections as
     part of the Grabek Litigation, which Plaintiffs’ counsel filed that same year.
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 1
     trial. See, e.g., White, 2018 WL 5919670, at *1; Wilcox, 2019 WL 132281, at *13;
 2
     Davis v. Wash. Univ., 2018 WL 4684244, at *3 (E.D. Mo. Sept. 28, 2018) (rejecting
 3
     the “false premise” that Defendants breached their fiduciary duties simply because
 4
     “the Plan’s fees could have been lower”); Divane v. Nw. Univ., 2018 WL 2388118,
 5
     at *8 (N.D. Ill. May 25, 2018) (similar); Sweda v. Univ. of Pa., 2017 WL 4179752,
 6
     at *8 (E.D. Pa. Sept. 21, 2017) (similar).
 7
           Furthermore, the undisputed record demonstrates that the NGSP’s process
 8
     was prudent. The Plan chose Hewitt as a recordkeeper as a result of a competitive
 9
     RFP process that included five different vendors. SUF ¶¶ 76-79. After a several-
10
     month process, Hewitt was chosen as the NGSP’s new recordkeeper, SUF ¶ 79-80,
11
     and on January 1, 2006, the NGSP entered into an agreement with Hewitt for
12
     recordkeeping services. SUF ¶ 80. There is no allegation or evidence that the
13
     contract was not negotiated at arms’ length, and the monthly fixed fee provided for
14
     in the contract was a fee structure that recordkeepers used at the time. SUF ¶ 82; see
15
     generally Danza v. Fidelity Mgmt. Trust Co., 2013 WL 3872118, at *1, *3 (3d Cir.
16
     2013) (reviewing 2008 Fidelity recordkeeping contract with fixed fees).
17
           Importantly, Plaintiffs’ allegation that this $500,000 fixed fee went
18
     unreviewed and unchanged is indisputably wrong. Even though the 2006 contract
19
     imposed early termination penalties that lasted until 2014, NGSP fiduciaries were
20
     able to negotiate a fee reduction from Hewitt as a result of the March 2011 divestiture
21
     of Northrop’s shipbuilding division. SUF ¶ 90. In that process, Northrop retained an
22
     outside consultant to provide benchmarking data and used the benchmarking data to
23
     negotiate a lower fee, which was computed on a per-participant basis (SUF ¶¶ 85-
24
     90)—exactly what Plaintiffs say was prudent (SAC ¶ 66). As the early-termination
25
     fee expired, the NGSP’s fiduciaries put the contract back out to bid; that 2014 RFP
26
     resulted in the transition to Fidelity that was completed in April 2016. SUF ¶¶ 91-
27
     94. Under this factual record, no reasonable trier of fact could uphold Plaintiffs’
28
     claim that Defendants breached their fiduciary duty of prudence by failing to monitor
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 1
     and re-negotiate Hewitt’s $500,000 monthly fixed fee—indeed, Defendants did
 2
     exactly that in both 2010 and 2014.7
 3
           B.     ERISA does not mandate requests for proposals at any particular
 4                frequency, and no evidence demonstrates that the NGSP could
                  have obtained lower recordkeeping fees for the same services.
 5
           Plaintiffs’ theory that Defendants breached their fiduciary duty because
 6
     competitive bidding was required every three years similarly fails as a matter of law.
 7
     “[N]othing in ERISA compels periodic bidding.” White, 2016 WL 4502808, at *13-
 8
     15. In fact, nothing in ERISA dictates “any particular course of action” with regard
 9
     to fees or negotiations. Chao v. Merino, 452 F.3d 174, 182 (2d Cir. 2006) (emphasis
10
     added; internal quotation omitted). The Ninth Circuit has specifically rejected a
11
     “bright-line approach to prudence” that hinges only on finding the lowest cost,
12
     noting that “[t]here are simply too many relevant considerations for a fiduciary” for
13
     that approach to be tenable. See Tibble v. Edison Int’l, 729 F.3d 1110, 1135 (9th Cir.
14
     2013), vacated on other grounds, 135 S.Ct. 1823, 191 L.Ed.2d 795 (2015); see also
15
     Hecker v. Deere & Co., 556 F.3d 575, 586 (7th Cir. 2009) (ERISA does not require
16
     fiduciaries to “scour the market” to find the lowest fees available). Fiduciaries are
17
     instead only required to “exercise care prudently and with diligence under the
18
     circumstances then prevailing.” See Chao, 452 F.3d at 182.
19
           Defendants satisfied their fiduciary duties with respect to Hewitt’s fees by
20
     conducting an RFP before they engaged Hewitt, by benchmarking Hewitt’s fees
21
     through an external consultant in 2010, and by renegotiating the fees in 2011. See
22
     SUF ¶¶ 76, 79, 86, 90. In addition to the review and involvement in that process by
23
     the Administrative Committee chair, the Administrative Committee was presented
24
     with the periodic reviews of Hewitt’s fees and performance. SUF ¶ 95. The NGSP's
25
     7
26          Plaintiffs cannot shift the underlying factual allegations of their claims on
     summary judgment. F.C.R.P. 8(a)(2); see also Pickern v. Pier 1 Imps. (U.S.), Inc.,
27   457 F.3d 963, 968 (9th Cir. 2006) (rejecting plaintiff’s “attempts to justify these new
     factual allegations as falling within the original complaint” because Rule 8 “requires
28   that the allegations in the complaint give the defendant fair notice of what the
     plaintiff's claim is and the grounds upon which it rests”).
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 1
     all-in fees were reduced from 4 bps to 3 bps, which is low relative to market and
 2
     survey data. SUF ¶ 124, 126. Further, the contract was put out to bid again in 2014,
 3
     three years after Hewitt’s fees were renegotiated. SUF ¶¶ 91-92. Thus, even
 4
     assuming best practices call for frequent comprehensive fee reviews, that
 5
     requirement was met during the relevant time period by the Administrative
 6
     Committee’s benchmarking and fee renegotiations starting in 2010 and 2011, and
 7
     the new RFP for recordkeeping services issued in 2014.
 8
           This extensive record of review and renegotiations distinguishes this case
 9
     from George v. Kraft Foods Glob., Inc., 641 F.3d 786, 799 (7th Cir. 2011)—cited
10
     by Plaintiffs at the motion-to-dismiss stage—where the court found that the lack of
11
     an RFP presented an issue for trial when coupled with a lack of evidence that plan
12
     fiduciaries reviewed fees for reasonableness. The court in White explained the
13
     difference:
14
            [T]he court in George held that the failure to solicit competitive bids
15          might be imprudent where (1) plaintiffs presented concrete evidence
            about the objective level of fees and why they were unreasonable;
16          and (2) the plan fiduciaries had not renegotiated their recordkeeping
            arrangement for more than fifteen years. . . . [I]n contrast to the facts
17          at issue in George, the Plan fiduciaries did renegotiate their
            recordkeeping arrangement with Vanguard to limit compensation to
18          annual, per-participant fees.
19   White, 2016 WL 4502808, at *15.
20         Beyond the evidence of benchmarking, re-negotiations, and RFPs discussed
21   above, all of the objective evidence shows the NGSP’s fees were in line with or
22   lower than other similarly sized plans. SUF ¶ 123-127. These fees, as even
23   Plaintiffs’ proposed recordkeeping fee expert, Martin Schmidt, has acknowledged,
24   were consistent every year, even as the NGSP’s assets grew substantially and
25   participant counts varied.8 SUF ¶ 131. Importantly, Plaintiffs have failed to dispute
26
     8
           Plaintiffs have disclosed a purported expert, Martin Schmidt, to offer an
27   opinion on the reasonableness of the NGSP’s recordkeeping fees. However, Schmidt
     has never benchmarked administrative fees for a plan anywhere near as large or as
28   complex as the NGSP. The largest plan he has benchmarked was approximately
     40,000 participants, or less than half the size of the NGSP. SUF ¶ 129. Moreover,
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 1
     the objective evidence cited above, and have failed to show that the NGSP could
 2
     have obtained lower recordkeeping fees for the same services. Although Plaintiffs’
 3
     expert opines that Defendants “could have” reduced the NGSP’s administrative costs
 4
     had they conducted a burdensome RFP process, without some “indicia of reliability”
 5
     beyond his purported experience, Schmidt’s opinion is mere speculation. SUF ¶ 134;
 6
     White, 2017 WL 2352137, at *12 (rejecting claims based on speculation regarding
 7
     what plan fiduciaries “could have” done to reduce fees). Accordingly, there is no
 8
     genuine factual dispute that the fees the NGSP paid to Hewitt were reasonable.
 9         C.    Fees paid by Financial Engines to Hewitt did not make Hewitt’s
10
                 fees excessive.
           Plaintiffs’ objections to the data connectivity agreement between Hewitt and
11
     Financial Engines, which Plaintiffs characterize as a “kickback” arrangement, have
12
     been rejected time and again by the courts. See, e.g., Scott v. Aon Hewitt Fin.
13
     Advisors, LLC, 2018 WL 1384300, at *2 (N.D. Ill. Mar. 19, 2018) (dismissing
14
     claims that “Hewitt . . . agreed to a ‘pay to play’ or improper kickback scheme [with]
15
     Financial Engines”); Patrico v. Voya Fin., Inc., 2018 WL 1319028, at *6 (S.D.N.Y.
16
     Mar. 13, 2018) (dismissing allegations that a recordkeeper provided “no
17
     compensable services” to Financial Engines); Chendes v. Xerox HR Sols., LLC, 2017
18
     WL 4698970, at *2 (E.D. Mich. Oct. 19, 2017) (dismissing claim that fees paid to a
19
     recordkeeper “from FE ‘are not being paid for any substantial services being
20
     provided by Xerox HR to FE or to participants of the Plans’”). Plaintiffs’ claims in
21
     this case fare no better.
22
           First, Plaintiffs’ assertion that Hewitt provided “no apparent services” to
23
     Financial Engines warranting payment is flatly contradicted by the evidence. The
24
     agreement between Hewitt and Financial Engines outlines the services Hewitt
25

26   Schmidt underestimated the complexity of the NGSP and the services offered by
     Hewitt in preparing his report. SUF ¶ 132. Most egregiously, in opining on his
27   “range of expected fees” for NGSP recordkeeping services, Schmidt not only offers
     no range, but uses no market data or comparable plan fees to support his “expected
28   fees.” SUF ¶ 133. Ultimately, Schmidt’s lack of experience combined with his
     flawed methodology renders his opinion suspect at best and prejudicial at worst.
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 1
     provided to Financial Engines in exchange for its connectivity fee—specifically,
 2
     access to the participant data that Financial Engines required in order to perform its
 3
     function as investment advisor to plan participants. SUF ¶¶ 112-113. As Financial
 4
     Engines’ corporate representative explained, “the ability to deploy our services was
 5
     dependent on [] integration with Hewitt, and in turn, we compensated them for that
 6
     through data connectivity fees.” SUF ¶ 112 (Ex. 99, Rubino Dep. 29:23-24 (“We
 7
     can’t deploy our services without the integration with the recordkeeper.”)). Even
 8
     Plaintiffs’ expert had to admit that the compensation Hewitt received from Financial
 9
     Engines was not a gift and that Hewitt clearly provided services in exchange for the
10
     fees it received. SUF ¶ 135.
11
           Moreover, courts faced with similar circumstances have noted that it would
12
     be problematic under ERISA to impose a requirement that plan fiduciaries monitor
13
     the specifics of a service provider’s contractual arrangements with other parties. See
14
     Patrico, 2018 WL 1319028, at *7 (declining to impose such a duty, noting that
15
     “[p]laintiff has not presented any law to suggest that ERISA imposes such a heavy
16
     burden on plan sponsors.”). Instead, when there are multiple service providers at
17
     issue, a fiduciary must ensure that the fees it pays from plan assets are reasonable in
18
     relation to all of the services provided to the plan and its participants. Scott, 2018
19
     WL 1384300, at *11 (citing Best Interest Contract Exemption, 81 Fed. Reg. 21002-
20
     01, 201554 (Apr. 5, 2016)). “[T]he standard is a fair market standard,” and “there is
21
     no requirement to allocate specific compensation to specific services.” Id. (internal
22
     quotation omitted). A fiduciary’s duty to monitor service providers’ fees, however
23
     vague the contours of that duty may be, has never been held to include an obligation
24
     to monitor compensation a service provider receives from a third party pursuant to
25
     an agreement, as opposed to compensation paid by the plan and its participants.
26
           There is no genuine dispute that the Administrative Committee fulfilled its
27
     obligation to ensure reasonable compensation paid by the Plan by separately
28
     benchmarking the amounts it paid to Hewitt for its recordkeeping services (discussed
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 1
     above) and the amounts it paid to Financial Engines for advisory services. The
 2
     Administrative Committee commissioned an RFP for financial advisory services in
 3
     2011 with the assistance of an external consultant. SUF ¶ 96. The committee chose
 4
     Financial Engines out of several providers and engaged the firm for services starting
 5
     in 2012. SUF ¶¶ 98-106. In spring 2015, the Administrative Committee again
 6
     reviewed the results of a fee benchmarking study to assure itself that fees were
 7
     appropriately renegotiated. SUF ¶ 110 (Ex. 58, May 2015 minutes: “[W]hile
 8
     Financial Engines fees were reasonable at the time of the initial engagement in 2011,
 9
     the benchmarking shows a change in the market . . . the Plans are actively
10
     renegotiating the investment advisory fees with Financial Engines in order to bring
11
     the fees better in line with the benchmarking.”). Through that process, NGSP
12
     participants saw additional fee reductions. SUF ¶ 111.
13
           Plaintiffs have adduced no evidence that industry practice called for
14
     fiduciaries to monitor third-party arrangements. Indeed, the evidence shows that the
15
     fee arrangement between Financial Engines and Hewitt was enterprise-wide and was
16
     the same for almost all plans that employed both parties. SUF ¶¶ 114-115.9
17
           In any event, it is undisputed that the arrangement did not change the fees paid
18
     by participants or the NGSP. Notwithstanding the remote possibility that Financial
19
     Engines would have paid Hewitt more than the market rate demanded for access to
20
     its platform, Plaintiffs have no evidence that Defendants could have exercised
21
     control over the terms of the data connectivity agreement or used their knowledge
22
     of the data connectivity fees to negotiate less expensive recordkeeping or investment
23
     advisory services for the NGSP. Defendants are entitled to summary judgment on
24
     all claims regarding administrative and recordkeeping fees.
25

26
     9
27         Moreover, the undisputed evidence shows that the Administrative Committee
     and its delegates were aware of the general arrangement between Hewitt and
28   Financial Engines when it chose Financial Engines and executed the agreement with
     it. SUF ¶¶ 118-122.
                                                  -18-
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 1   III.    PLAINTIFFS’ DUTY-OF-LOYALTY CLAIMS FAIL.
 2
             ERISA’s duty of loyalty requires a fiduciary to “discharge his duties with
 3
     respect to a plan solely in the interest of the participants and beneficiaries.” 29 U.S.C.
 4
     § 1104(a)(1). Thus, “a breach of that duty requires some showing that the fiduciaries’
 5
     decisions were motivated by a desire to serve the interests of [themselves or others]
 6
     over those of the beneficiaries.” Tibble, 2010 WL 2757153, at *24 n.19; accord, e.g.,
 7
     White v. Chevron Corp., 2017 WL 2352137, at *4, 23 (N.D. Cal. May 31, 2017)
 8
     (duty of loyalty claim requires showing that “defendants took [some] actions for the
 9
     purpose of benefitting themselves or some third party . . . at the expense of Plan
10
     participants, or that they acted under any actual or perceived conflict of interest.”)
11
     (emphasis added), aff’d, 2018 WL 5919670 (9th Cir. Nov. 13, 2018); Sacerdote v.
12
     N.Y. Univ., 2017 WL 3701482, at * 5 (S.D.N.Y. Aug. 25, 2017) (“[T]o implicate the
13
     concept of ‘loyalty,’ a plaintiff must allege plausible facts supporting an inference
14
     that the defendant acted for the purpose of providing benefits to itself or someone
15
     else.”). Since Plaintiffs could not plausibly allege facts sufficient to support a duty
16
     of loyalty claim, much less come forward with admissible evidence showing that
17
     Defendants acted to benefit themselves or others at Plaintiffs’ expense, Defendants
18
     are entitled to judgment on these claims.
19
             As an initial matter, Plaintiffs’ failure to include a single allegation in either
20
     Count II or Count III that distinguishes their duty of loyalty claims from their
21
     prudence claims justifies entering summary judgment in favor of Defendants on the
22
     former. As Courts have held, “[t]o state a loyalty-based claim under ERISA . . . a
23
     plaintiff must do more than simply recast purported breaches of the duty of prudence
24
     as disloyal acts,” Sacerdote, 2017 WL 3701482, at *5, but that is all Plaintiffs have
25
     done.     For example, Plaintiffs frame their emerging markets claim as a violation
26
     of the duty of loyalty, asserting that “Defendants breached their dut[y] of loyalty . .
27
     . by failing, until November 2014, to remove underperforming managers and move
28
     the Emerging Markets Equity Fund’s assets to passive-investing,” but they never
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 1
     allege that in making this decision, Defendants were motivated by a desire to benefit
 2
     themselves and others at participants’ expense.
 3
           Dismissing this unsubstantiated claim is all the more appropriate at this stage
 4
     of the case since Plaintiffs have had ample opportunity to develop this claim through
 5
     discovery but still cannot offer a plausible theory, much less admissible factual
 6
     evidence, to support a finding that Defendants acted to benefit themselves or others
 7
     at Plaintiffs’ expense.
 8   IV. THE FAILURE TO MONITOR CLAIM IS SIMILARLY BELIED BY
 9
            THE EVIDENCE.

10         Plaintiffs’ claim that Northrop failed to appropriately monitor its appointees
11   to the Administrative Committee and Investment Committee, and that the
12   committees in turn failed to monitor individuals or groups to whom they delegated
13   fiduciary tasks is entirely derivative of Plaintiffs’ prudence claims. SAC ¶¶ 146–148
14   (alleging that each fiduciary breached its duty to monitor by failing to prevent its
15   delegates and co-fiduciaries from engaging in the fiduciary breaches alleged
16   elsewhere in the complaint). Without an underlying fiduciary breach, Plaintiffs’
17   claim dies on the vine. See, e.g., Dorman v. Charles Schwab Corp., 2018 WL
18   6803738, at *7 (N.D. Cal. Sept. 20, 2018) (“The duty to monitor claim is essentially
19   derivative of the breach of fiduciary duty claim. Because the breach of fiduciary duty
20   cause of action fails to state a claim, this cause of action does as well.”); In re
21   Computer Scis. Corp. ERISA Litig., 635 F. Supp. 2d 1128, 1144 (C.D. Cal. 2009)
22   (“[B]ecause Plaintiffs’ prudence claim fails . . . their monitoring claim also fails.”);
23   Monper v. Boeing Co., 104 F. Supp. 3d 1170, 1180 (W.D. Wash. 2015) (“[F]ailure
24   to monitor [claims] are derivative claims that necessarily fail where there is no
25   underlying violation.”); In re Bank of Am. Corp. ERISA Litig., 756 F. Supp. 2d 330,
26   359 (S.D.N.Y. 2010) (“[A] failure to monitor claim fails where the plaintiffs do not
27   successfully allege a breach of the duty of prudence.”).
28         Even had Plaintiffs been able to substantiate their underlying claims, summary

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 1
     judgment would still be warranted because Plaintiffs have not adduced “significantly
 2
     probative” evidence of any failure in monitoring. Anderson, 477 U.S. at 255. The
 3
     duty to monitor requires that a fiduciary “review the performance of its appointees
 4
     at reasonable intervals in such a manner as may be reasonably expected to ensure
 5
     compliance with the terms of the plan and statutory standards.” Dorman, 2018 WL
 6
     6803738, at *7; see also Computer Scis. Corp., 635 F. Supp. 2d at 1144 (“Under
 7
     ERISA, fiduciaries have a limited duty to monitor and review the performance of
 8
     their appointed fiduciaries[.]”) (emphasis added). As this Court put it, Plaintiffs
 9
     survived the motion-to-dismiss stage by “essentially alleg[ing] Defendants did
10
     nothing at all to monitor their appointed fiduciaries.” Dkt. 146, at 9. But at summary
11
     judgment, Plaintiffs must show actual evidence raising a genuine dispute of material
12
     fact as to whether Northrop failed appropriately to monitor its appointees to the
13
     committees.10 Plaintiffs cannot do so because the undisputed evidence shows
14
     ongoing review by Northrop’s Board as to the performance of committee appointees.
15
     See SUF ¶ 9. Plaintiffs have no evidence to show that a prudent Board of a
16
     comparable company would have done more.
17
           The same is true as to Plaintiffs’ claim challenging monitoring by the
18
     Administrative Committee and Investment Committee. Indeed, the evidence shows
19
     a pattern of regular meetings by the respective committees in which they considered
20
     the exact issues of which Plaintiffs complain. See, e.g., SUF ¶¶ 30, 38, 59, 70, 94.
21
     This indisputable documentary evidence is backed up by the testimony of Northrop
22
     employees regarding the regular involvement that individuals at all levels had in
23
     monitoring the NGSP and its investment options on a day-to-day basis. SUF See,
24
     e.g., ¶¶ 12, 20, 56, 74, 75, 90.
25
     10
26     Importantly, Northrop may not be held responsible for the actions of its appointees
     on a theory of respondeat superior; there must be evidence that Northrop itself
27   insufficiently monitored them. See Monper, 104 F. Supp. 3d at 1181 (“[T]he Ninth
     Circuit has plainly signaled that common law theories, such as respondeat superior,
28   are not to be imported into ERISA actions so as to expand the bases for liability that
     the statute provides.”) (collecting cases).
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 1   V.    PLAINTIFFS’ PROHIBITED TRANSACTION CLAIMS FAIL AS A
           MATTER OF LAW AND ARE TIME BARRED.
 2
           Plaintiffs attempt to repackage their prudence claims as “prohibited
 3
     transactions” claims under 29 U.S.C. § 1106(a)(1). They allege that the NGSP’s
 4
     “hiring” of Hewitt, Financial Engines, and the EM Fund’s active managers, as well
 5
     as “the payment of fees” to those entities, constitutes a prohibited transaction under
 6
     § 1106(a). SAC ¶ 136. But other courts have rejected as a matter of law the same
 7
     effort by the same plaintiffs’ counsel. See Sacerdote, 2017 WL 3701482, at *13–14;
 8
     Sweda v. Univ. of Pa., 2017 WL 4179752, at *11 (E.D. Pa. Sept. 21, 2017);
 9
     Cunningham v. Cornell Univ., 2017 WL 4358769, at *9–10 (S.D.N.Y. Sept. 29,
10
     2017); Divane v. Nw. Univ., 2018 WL 2388118, at *9–10 (N.D. Ill. May 25, 2018).
11
           Section 1106 “supplements the fiduciary’s general duty of loyalty to the plan’s
12
     beneficiaries by categorically barring certain transactions deemed ‘likely to injure
13
     the pension plan.’” Harris Tr. & Sav. Bank v. Salomon Smith Barney, Inc., 530 U.S.
14
     238, 241–42 (2000). Specifically, Section 1106(a) bars certain transactions between
15
     a plan and a “party in interest,” a term defined to include, among other things, “a
16
     person providing services to [a] plan.” 29 U.S.C. § 1102(14)(B). But Plaintiffs
17
     stretch these provisions beyond their breaking point by suggesting that the very
18
     transaction that makes Hewitt, Financial Engines, and the active managers into
19
     parties in interest—that is, payment for their services—is itself a prohibited
20
     transaction with a party in interest. As one court explained, “[t]his cannot be
21
     correct,” because “[i]f such an argument were true, then any time plan administrators
22
     contracted with another party to provide services to plan participants in exchange
23
     for money (which includes the basic elements of retirement plans, including making
24
     mutual funds available or recordkeeping services) it would qualify as a prohibited
25
     transaction.” Sweda, 2017 WL 4179752, at *11. Or, as yet another court put it:
26

27
           [P]ayment of a fee for services rendered is a core aspect of a pension
           plan under ERISA—and most retirement savings plans. Depending on
28
           the circumstances, overpayment of fees may be an issue under other
           provisions of ERISA, but a payment for services rendered cannot be a
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 1         ‘prohibited transaction.’
 2   Sacerdote, 2017 WL 3701482, at *13; see also Divane, 2018 WL 2388118, at *10
 3   (“[I]t would be nonsensical to let a party state a claim for a prohibited transaction in
 4   violation of ERISA merely by alleging a plan paid a person for a service.”). As in
 5   Sweda, then, “[t]he plaintiffs’ attempts to shoehorn their fiduciary duty claims into
 6   the prohibited transaction provision simply fail as a matter of law.” 2017 WL
 7   4179752, at *11.
 8         Even if this were not the case, summary judgment would still be required
 9   because the payments alleged by Plaintiffs fall into the statutory safe harbor of 29
10   U.S.C. § 1108(b), which explicitly exempts from the prohibited transaction rules
11   “[c]ontracting or making reasonable arrangements with a party in interest for . . .
12   services necessary for the establishment or operation of the plan, if no more than
13   reasonable compensation is paid therefor.” After discovery, the undisputed evidence
14   demonstrates that the fees paid to Hewitt and Financial Engines were entirely
15   reasonable. See supra at 18-19. And as for the EM Fund’s active managers, Plaintiffs
16   do not even allege that their compensation was anything other than reasonable. See
17   generally SAC.
18         Furthermore, Plaintiffs’ prohibited transaction claims are barred by ERISA’s
19   six year statute of repose, which provides that “[n]o action may be commenced . . .
20   with respect to a fiduciary’s breach of any responsibility, duty or obligation . . . six
21   years after [ ] the date of the last action which constituted a part of the breach or
22   violation.” 29 U.S.C. § 1113(1)(A).11 That period begins to run “when a specific
23   event occurs, regardless of whether a cause of action has accrued or whether any
24   injury has resulted.” David v. Alphin, 704 F.3d 327, 339 (4th Cir. 2013). For a
25
     11
26          ERISA also contains a three-year statute of limitations that is triggered “after
     the earliest date on which the Plaintiff had actual knowledge of the breach or
27   violation.” 29 U.S.C. § 1113. Defendants believe that Sulyma v. Intel Corp.
     Investment Policy Committee, 909 F.3d 1069 (9th Cir. 2018), wrongly narrowed the
28   definition of “actual knowledge” and preserve for appeal the argument that Plaintiffs
     had actual knowledge of their claims under the circumstances present here.
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 1
     prohibited transaction claim like the one here, the only relevant “specific event” is
 2
     the initial engagement of the service provider. Id. at 341; see also Cassell v.
 3
     Vanderbilt Univ., 285 F. Supp. 3d 1056, 1068 (M.D. Tenn. 2018) (“[T]here is no
 4
     such thing as a continuing prohibited transaction[.]”).
 5
           Plaintiffs’ prohibited transaction claim with respect to Hewitt’s fees depends
 6
     entirely on the allegation that Hewitt was compensated for recordkeeping services
 7
     at a fixed rate of $500,000 per month, a transaction that was entered into in 2006,
 8
     well before the limitations period.12 SUF ¶ 80. The same is true with respect to the
 9
     EM Fund’s active managers, who were retained in 2003, 2005, and 2006,
10
     respectively. SUF ¶ 19. Given this lapse of time, Defendants are entitled to summary
11
     judgment based on ERISA’s statute of repose.
12   VI. THE INDIVIDUAL DEFENDANTS                                  WERE          NOT        ERISA
13
          FIDUCIARIES.

14         Although Plaintiffs unnecessarily expanded their claims to name the Northrop
15   employees who served on the fiduciary committees as defendants, Plaintiffs have
16   adduced no facts suggesting that they single-handedly bear fiduciary responsibility.
17   In denying Defendants’ motion to dismiss the claims against the individual
18   defendants, the Court held that Plaintiffs’ allegations “that the Individual Defendants
19   may have exercised discretionary authority over the Plan and the Committees during
20   the class period” were “sufficient at this stage of the proceedings.” Dkt. 146, at 10.
21   Now, after discovery, Plaintiffs have failed to uncover evidence that any one of the
22   individual defendants either had or exercised discretionary authority over any of the
23   transactions or decisions that Plaintiffs are challenging.13 SUF ¶ 66; see Wright v.
24   12
            As for Financial Engines, Plaintiffs challenge nothing about that transaction
25   except to allege the engagement increased Hewitt’s purportedly unreasonable fee;
     Plaintiffs plead no independent basis for a prohibited transaction by the Plan
26   stemming from its engagement of Financial Engines.
     13
        Although various Northrop employees were delegated certain responsibilities
27   related to the NGSP, its investments, and its recordkeeping arrangements, these
     delegations involved responsibilities or duties that are not at issue in this case, and
28   therefore cannot form the basis for an individual breach of fiduciary duty claim.
     Pegram, 530 U.S. at 226 (“[I]n every case charging breach of ERISA fiduciary duty,
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 1
     Or. Metallurgical Corp., 360 F.3d 1090, 1101 (9th Cir. 2004) (“An individual or
 2
     entity performs a ‘fiduciary’ function with respect to a pension plan when
 3
     ‘exercis[ing] any discretionary authority or discretionary control respecting
 4
     management of such plan or exercise[ing] any authority or control respecting
 5
     management or disposition of its assets.’”) (quoting 29 U.S.C. § 1002(21)(a)). Here,
 6
     the Plan document entitles “the Committee” to administer the Plan. SUF ¶¶ 65, 66.
 7
     Irrespective of whether that makes the Committee’s members fiduciaries for some
 8
     purposes, Plaintiffs must adduce evidence that the individual defendants were
 9
     “performing a fiduciary function when taking the action subject to the complaint.”
10
     Pegram v. Herdrich, 530 U.S. 211, 226 (2000). Here, the Court has found that
11
     “fiduciary status must be determined in the context of the specific fiduciary duties
12
     asserted to have been breached.” Dkt. 146, at 10. The sine qua non of fiduciary
13
     status is discretion, but Plaintiffs have no evidence that any individual Defendant
14
     exercised individual discretion respecting the EM Fund or in negotiating Hewitt fees.
15
     To the contrary, only a majority of committee members “has the power to act for the
16
     entire Administrative [or Investment] Committee.” SUF ¶ 66, Ex. 2. The
17
     committees, not the individuals who comprise them, are the NGSP’s fiduciaries.14
18
     As such, the individuals named as Defendants are entitled to summary judgment.
19
                                          CONCLUSION
20
           For the reasons above, Defendants request that the Court grant summary
21
     judgment to Defendants on Counts II, III, VI, and VII; and to the individual
22
     defendants on all counts in the Second Amended Complaint.
23

24

25

26   the threshold question is . . . whether [the defendant] was performing a fiduciary
     function when taking the action subject to the complaint.”) (emphasis added).
     14
27      This lack of factual basis should come as no surprise, since—as the Court has
     recognized—Plaintiffs’ counsel has made clear that the individual defendants were
28   joined merely for tactical reasons, and has admitted that they “did not act on their
     own.” Dkt. 146, at 10.
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